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uNiTEo sTATEs oF AMERch, ' " ") ”’S" °T'

W.D. OF TN. l\/iEi‘.APHlS
Plaintiff,

VS.
CR. NO. 04-20477-B
STEV|E HOPK|NS,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 31 , 2005. At that time, counsel for the

defendant requested a continuance for change of plea.

The Court granted the request and set the change of plea date for Thursd.‘¢,i)gl
June 23l 2005 at 9:30 a.m., in Courtroom 1, 11th Floor of the Federa| Bui|ding, l\/lemphis,
TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. §31 61 (h)(8)(B)(i\/) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy trial.
lT lS SO ORDERED this § day of June, 2005.

/

.D NlEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20477 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

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PDA

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Honorable J. Breen
US DISTRICT COURT

